                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:01CR5-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                      ORDER
KOVA DUAN WRIGHT,                   )
                  Defendant.        )
___________________________________ )


       THIS MATTER is before the Court upon motion of defense counsel for purposes of

obtaining access to certain non-public materials in connection with preparation of Defendant

Wright’s post-conviction Motion for Reduction of Sentence pursuant to 18 U.S.C. §3582(c)(2) and

Amendment 706 to the United States Sentencing Guidelines. (Document #911)

       IT IS, THEREFORE, ORDERED that Defendant’s Motion is GRANTED.
Accordingly, the Clerk’s Office and / or the U.S. Probation Department are both hereby authorized
to release a copy of Documents ##584 and 696 to Attorney Charles Brewer.




                                               Signed: March 21, 2011




       Case 5:01-cr-00005-KDB         Document 912        Filed 03/21/11     Page 1 of 1
